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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION

    Semcon IP Inc.,

                      Plaintiff                      Civil Action No. 2:16-cv-00437
                                                               (Lead Case)
    vs.
                                                          Jury Trial Demanded
    Huawei Device USA Inc., et. al

                      Defendants.

    Semcon IP Inc.,

                      Plaintiff
                                                     Civil Action No. 2:16-cv-00439
    vs.
                                                          Jury Trial Demanded
    STMicroelectronics, Inc., et. al

                      Defendants.




                                         EXHIBIT 2

                                            TO

                      DEFENDANT STMICROELECTRONICS, INC.’S MOTION
                       FOR SUMMARY JUDGMENT OF NO INFRINGEMENT




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   Date: February 20, 2018            Respectfully submitted,


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                                    CERTIFICATE OF SERVICE

            The undersigned hereby certifies that a true and correct copy of the above and foregoing

   document has been served on February 20, 2018 to all counsel of record who are deemed to have

   consented to electronic service via the Court’s CM/ECF system per Local Rule CV-5(a)(3).


                                                 /s/ Thomas N. Tarnay




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                         REDACTED IN ITS ENTIRETY
